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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )        CRIMINAL ACTION NO.
     v.                           )          2:21cr185-MHT
                                  )               (WO)
ZSA ZSA BOUVIER COUCH             )

                        OPINION AND ORDER

    This case is before the court on defendant Zsa Zsa

Bouvier Couch’s motion to file an out-of-time appeal.



                            I. BACKGROUND

    Couch has been charged in an indictment with five

counts    of   bank    fraud,    in    violation     of    18    U.S.C.

§§ 1344(2) and 2; six counts of making false statements

to a federally insured bank, in violation of 18 U.S.C.

§§ 1014 and 2; and two counts of money laundering, in

violation of 18 U.S.C. §§ 1957(a) and 2.

    On    April   8,   2022,     the   court    entered     an    order

finding Couch incompetent to stand trial and committing
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her to the custody of the Attorney General, pursuant to

18 U.S.C. § 4241(d)(1), for an examination to determine

whether her competency can be restored.                             See United

States       v.   Couch,      2022   WL       1056418      (M.D.    Ala.   2022)

(Thompson, J.).             However, rather than requiring Couch

to be taken into custody immediately, the court allowed

her     to    self-surrender         to       an    appropriate       facility

designated         by   the   Attorney        General.        See    id.     The

Attorney          General     designated           the     Federal     Medical

Facility Carswell in Fort Worth, Texas, as the facility

to which Couch was to self-surrender, and on April 18,

2022, the court entered an order confirming that she

was to self-surrender there.                       See Letter from United

States Marshals Service (Doc. 90-1) and April 18, 2022

Order (Doc. 90).

      On May 10, 2022, Couch filed the pending motion to

file an out-of-time appeal of the court’s April 8 and

April    18       orders,     pursuant        to    Rule    4(b)(4)    of    the

Federal Rules of Appellate Procedure.                         See Motion for

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Leave to File Notice of Appeal Out of Time (Doc. 97).

The   same    day,   she   filed   a   notice    of   appeal   of   the

court’s April 8 and April 18 orders.                  See Notice of

Appeal (Doc. 98).

      Under     Federal     Rule       of   Appellate       Procedure

4(b)(1)(A), the time for filing a notice of appeal in a

criminal case is within 14 days of the entry of the

judgment or order being appealed.               Thus, to appeal the

April 8 order, Couch would have had to file a notice of

appeal by April 22 and to appeal the April 18 order,

she would have had to file a notice of appeal by May 2.

Couch did not timely file a notice of appeal of either

the court’s April 8 order or its April 18 order.1



    1. On May 4, 2022, the court held a status
conference   at    which   Couch   orally   moved   for
reconsideration of the court’s April 18 order requiring
her to self-surrender to FMC Carswell, but not the
court’s finding that she was incompetent.     The court
denied that motion. See May 4, 2022 Order (Doc. 96).

    Although a motion for reconsideration of an
appealable order in a criminal proceeding will extend
the time for filing a notice of appeal if such motion

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                          II.       DISCUSSION

      Rule 4(b)(4) provides that, in a criminal case,

“[u]pon a finding of excusable neglect or good cause,

the district court may--before or after the time has

expired, with or without motion and notice--extend the

time to file a notice of appeal for a period not to

exceed     30   days    from    the      expiration      of   the   time

otherwise prescribed by this Rule 4(b).”                  Fed. R. App.

P. 4(b)(4).     As the Rule uses the word “may,” the court

has discretion to grant an extension of time if the

other requirements are met.

      In   Pioneer     Investment       Services   Co.   v.    Brunswick

Associates Ltd. Partnership, 507 U.S. 380, 388 (1993),

the   Supreme    Court     interpreted       the    term      “excusable


is filed within the period allotted for filing a notice
of appeal, see United States v. Dieter, 429 U.S. 6, 8-9
(1976); see also United States v. Arrate-Rodriguez, 160
Fed. Appx. 829, 832 (11th Cir. 2005), Couch moved for
reconsideration of the court’s April 18 order outside
the 14-day deadline prescribed by Rule 4(b)(1)(A).
Therefore, her motion for reconsideration did not
extend the time for filing a notice of appeal.      See
Arrate-Rodriguez, 160 Fed. Appx. at 832.

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neglect”     as    used       in   Federal       Rule    of    Bankruptcy

Procedure     9006(b)(1),          and    this     court      views    that

interpretation as equally applicable in the context of

Rule 4(b)(4).          See 16A Charles Alan Wright & Arthur R.

Miller, Fed. Prac. & Proc. Juris. § 3950.9 (5th ed.)

(“Rule 4(b)(4)'s ‘excusable neglect’ standard should be

interpreted       in    the    light      of   the      Supreme     Court's

discussion    of       Federal     Rule   of     Bankruptcy       Procedure

9006(b)(1)'s similar standard in the Pioneer Investment

case.”).     The Court explained that the term “neglect”

encompasses “both simple, faultless omissions to act

and, more commonly, omissions caused by carelessness.”

Pioneer Investment, 507 U.S. at 388.                 By using the term

“neglect,”     the       Supreme     Court       explained,       “Congress

plainly     contemplated           that    the     courts      would     be

permitted, where appropriate, to accept late filings

caused by inadvertence, mistake, or carelessness, as

well as by intervening circumstances beyond the party's

control.”     Id. at 388.

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      As for whether neglect is “excusable,” the Supreme

Court       opined    that    the     decision      “is    at    bottom    an

equitable       one,        taking     account      of     all     relevant

circumstances surrounding the party’s omission.”                          Id.

at 395.       These include “the danger of prejudice to the

[non-movant], the length of the delay and its potential

impact upon judicial proceedings, the reason for the

delay,      including       whether    it   was     in    the    reasonable

control of the movant, and whether the movant acted in

good faith.”         Id.

      Here, this court finds that Couch’s failure to file

a notice of appeal in a timely fashion was the result

of neglect.           Couch explains in her motion that her

attorney did not advise her of her right to appeal the

court’s April 8 and April 18 orders, did not advise her

of    the    14-day       deadline    for   doing    so,    and    did    not

discuss with her the advantages and disadvantages of

filing      such     an    appeal.     Because      of    her    attorney’s

inadvertence, she did not know to file her notice of

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appeal within the 14 days prescribed by Federal Rule of

Appellate Procedure 4(b)(1)(A).

      The    court      also       finds       that     Couch’s      neglect     is

excusable.         In     determining           whether      the    respondents’

neglect     in    Pioneer      was       excusable,        the     Supreme   Court

“accorded        primary          importance          to     the     absence     of

prejudice to the nonmoving party and to the interest of

efficient judicial administration.”                          Cheney v. Anchor

Glass     Container       Corp.,     71        F.3d   848,    850    (11th     Cir.

1996).      Here, both of those factors weigh in Couch’s

favor.           She    is    currently          in    the    custody    of    the

Attorney General, and she has not moved to be released

pending her appeal.               In granting her motion, therefore,

the     court     would      in     no     way    delay       the    process     of

determining whether her competency can be restored, or

in    any   way    undermine         its       shared      interest    with    the

government “in resolving the case in a timely fashion.”

Govt’s Response to Motion for Leave to File Notice of

Appeal Out Of Time (Doc. 111) at 9.

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      The other Pioneer factors weigh in Couch’s favor as

well.       There    is    no     evidence,      for    instance,     that

“counsel     deliberately         disregarded     [Federal     Rule     of

Appellate        Procedure        4(b)(1)(A)],”        or   that    Couch

“intended to delay [her] trial, or that [she] sought an

advantage by filing late.”            Cheney, 71 F.3d at 850.           To

the     contrary,    the     court       finds   Couch’s     attorney’s

mistake     to    have     been     entirely     honest.2      And,     as

explained above, Couch’s did not stand to delay the

process of determining whether her competency can be

restored by filing her notice of appeal late.

      Finally, the court notes that, while the government

argues     that      the     court’s       orders       finding     Couch

incompetent and committing her to the custody of the


    2. The court appointed Couch’s current attorney,
Vicky Toles, after Couch’s relationship with a previous
court-appointed attorney deteriorated beyond the point
of repair. Although Toles neglected to inform Couch of
her right to appeal the court’s order finding her
incompetent and committing her to the custody of the
Attorney General, her performance in this exceptionally
difficult case has been, in all other respects,
exemplary.

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Attorney        General       to        determine          restorability       are

unappealable, this argument is foreclosed by Eleventh

Circuit precedent.             In United States v. Donofrio, 896

F.2d 1301, 1303 (11th Cir. 1990), the Eleventh Circuit

Court of Appeals held that it had jurisdiction over an

appeal     of    a     district         court’s          order    committing     a

defendant to the custody of the Attorney General for

restoration,          pursuant           to        18     U.S.C.      § 4241(d),

explaining       that,        “[a]lthough           jurisdiction        of    this

appeal was questioned by the Court, it appears that

both   parties        are     correct         in    arguing      that   we    have

jurisdiction          under        28     U.S.C.A.          § 1291      and    the

‘collateral          order’     doctrine,               Cohen    v.   Beneficial

Industrial Loan Corp., 337 U.S. 541 (1949), as more

fully set forth in United States v. Gold, 790 F.2d 235

(2d Cir. 1986).”3



    3. For reasons the court cannot fathom, the
government fails to cite Donofrio in its response to
Couch’s motion.   Instead, it cites United States v.
McNeal, 2021 WL 4279575 (11th Cir. 2021), as well as

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two out-of-circuit cases--United States v. No Runner,
590 F.3d 962 (9th Cir. 2009), and United States v.
Perea, 977 F.3d 1297 (10th Cir. 2020)--for the
proposition that the court’s orders finding Couch
incompetent and committing her to the custody of the
Attorney   General   to   determine   restorability   are
unappealable.    None of these cases, however, is on
point. In McNeal, the Eleventh Circuit held that “[a]n
order denying immediate release and dismissal of an
indictment pending a determination of a defendant’s
competency to stand trial” is not appealable, as it
does not “‘end the litigation on the merits and leave
nothing for the court to do but execute the judgment.’”
2021 WL 4279575, at *2 (quoting Coopers & Lybrand v.
Livesay, 437 U.S. 463, 467 (1978) (internal alterations
omitted)).    But it did not question, and in fact
affirmed, that an order “depriv[ing] [a defendant] of
liberty to undergo an inpatient competency evaluation”
is one that resolves “an important question that would
be effectively unreviewable after final judgment,” and
is therefore an appealable interlocutory order. Id. at
*3 (citing Donofrio, 896 F.2d at 1302-03).     And in No
Runner and Perea, the Ninth and Tenth Circuit Courts of
Appeals, respectively, held that an order finding that
a defendant is competent and must proceed to trial is
not   appealable,   because   it   is   not   effectively
unreviewable on appeal from a final judgment.      See No
Runner, 590 F.3d at 964; Perea, 977 F.3d at 1300.      By
contrast, an order finding a defendant incompetent to
stand trial and committing her for hospitalization is
effectively unreviewable on appeal from a final
judgment, because, regardless of whether the defendant
were later found competent, tried, or convicted,
“nothing could recover for the defendant the time lost
during [her] confinement.” United States v. Gold, 790
F.2d 235, 239 (2d Cir. 1986).


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    Accordingly, it is ORDERED that defendant Zsa Zsa

Bouvier Couch’s motion to file an out-of-time appeal

(Doc. 97) is granted.

    DONE, this the 31st day of May, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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